     Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 1 of 43




   From:                             Montenegro, Melanie (NBCUniversal) <Melanie.Montenegro@nbcuni.com>
   Sent:                             Friday, August 9, 2013 11:17 AM
   To:                               Felipe Boshell
   Cc:                               CATALINA PORTO URDANETA
   Subject:                          RE: Revised Offer Letter
   Attachments:                      Caracol Offer Letter re Sequel to ESDLC (redline 8 9 13).doc; Caracol Offer Letter re
                                     Sequel to ESDLC (redline 8 9 13).doc

   Importance:                        High


   Hola Felipe,

   En continuacion con nuestra conversacion, anejo la oferta (clean y redline) con los cambios que platicamos. Por favor me
   dejas saber si tienes cual quier pregunta para poder cerar este negocio hoy o lo mas tardar el miercoles.

   Estoy disponible en mi cellular a REDACTED .

   Saludos,
   -Melanie


   From: Montenegro, Melanie (NBCUniversal)
   Sent: Friday, August 09, 2013 9:43 AM
   To: FELIPE BOSH ELL
   Subject: Re: Revised Offer Letter

   De acuerdo.

   Regards,
   -Melanie

   On Aug 9, 2013, at 9:17 AM,"FELIPE BOSHELL" <fboshell@caracoltv.com.co> wrote:

   > Hola Melanie me puedes Ilamar a mi celular +REDACTED            y si puedes 15 minutos antes mejor.
   >
   > Tuve que salir a otra reunion.
   >
   > Thanks.
   >
   > Enviado desde mi iPhone
   >
   > El 6/08/2013, a las 8:16 p.m.,"Montenegro, Melanie (NBCUniversal)" <Melanie.Montenegro@nbcuni.com> escribio:
   >
   » Felipe,
   »
   » In continuation with our discussions, attached is the revised offer letter. Please let me know when we can have an in
   person or a conference call to finalize the sequel rights to the ESDLC. As previously discussed, the international
   participation is after the recoupment of our costs of production. I look forward to speaking to you.
                                                              1

                                                                                                       Exhibit "F"
CONFIDENTIAL                                                                                                         CR1.01.0767
     Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 2 of 43
   »
   »
   »
   » Regards,
   »
   » [http://banners.nbcupromotes.com/img/email/TELSG]<http://banners.nbcu
   » promotes.com/link/email/TELSG>
   »
   >> MELANIE M. MONTENEGRO
   » Vice President
   » Business & Legal Affairs
   »Telemundo Media
   » 0: REDACTED
   » 0: REDACTED
   » M:REDACTED
   » F: REDACTED
   » Melanie.Montenegro@nbcuni.com<mailto:%0bMelanie.Montenegro@nbcuni.com
   »>
   »
   »
   » P Please consider the environment before printing this email
   »
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   »•        This communication (including attachments) contains PRIVILEGED AND CONFIDENTIAL information and is
   covered by the Electronic Communications Privacy Act, 18 U.S.C. Secs. 2510-2521, is confidential and may contain
   attorney-client materials and/or attorney work product, legally privileged and protected from disclosure. This e-mail is
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   distribution or copying of this email is strictly prohibited. Unauthorized interception of this e-mail is a violation of
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   »•        IRS Circular 230 Disclosure: In accordance with Sec. 10.35 of IRS Circular 230 requirements, you are advised
   that, unless otherwise indicated, any discussion of United States federal tax issues in this e-mail (including attachments)
   is not intended or written to be used, and cannot be used, to avoid penalties imposed under the United States Internal
   Revenue Code of 1986, as amended,or to promote, market or recommend to another party any transaction or matter
   addressed herein.
   »
   »•        Licensed in New York and Authorized House Counsel in Florida.
   »
   »
   »
   »
   »
   » <image001.jpg>
   » <Caracol Offer Letter re Sequel to ESDLC(8 6 13).doc>
   >
   >
   >
   > Los textos, anexos y demas informacion incluida en este mensaje son
   > confidenciales y de propiedad exclusiva de Caracol Television.
   > La recepciOn del mensaje no otorga ningun derecho de reproducciOn,

                                                                2


                                                                                                        Exhibit "F"
CONFIDENTIAL                                                                                                          CR1.01.0768
     Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 3 of 43
   > modificacion o comunicacion del mismo. Si recibe este mensaje par
   > error, abstengase de leerlo y eliminelo inmediatamente. Cualquier
   > utilizacion no autorizada del mensaje o de la informaci6n adjunta,
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   > This e-mail, its attachments and any information included in it are
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   > reading it and delete it immediately. Any unauthorized use of this
   > e-mail or the information attached, could lead to legal actions
   > against the recipient.
   >
   > <image001.jpg>




                                                               3


                                                                             Exhibit "F"
CONFIDENTIAL                                                                           CR1.01.0769
     Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 4 of 43




                                                                                                MELANIE M. MONTENEGRO
                    •i
                                                                                                VP,Business & Legal Affairs
                                                                                                Dir 305 889-7929
     TEILER'     , 11Nalki;  ;:)                                                                Melanie.Monteriegro@ritnuni.cora
     A Division of NBC Universal




    August 2,2013                                                                                                                  Deleted:6




    VIA CERTIF7ED MAIL & ELECTRONICE-MAIL (fboshelkacaracoltv.com.co)


    Mr. Felipe Boshell
    General Manager
    Caracol Television S.A.
    Calle 103,069B-43
    Bogota D.C.
    Colombia


              Re:         El Senor de Los Cielos Sequel


    Dear Mr. Boshell,

            This offer letter is being provided to you pursuant to Section 5(b) of the Co-Production
    Agreement dated as of October 25, 2012, as amended on March 11, 2013 (collectively, the
    "Agreement") between Telemundo Television Studios, LLC ("TTS") and Caracol Television, S.A.
    ("Caracol"). We are pleased to confirm the offer by TTS to produce a sequel ofthe telenovela "El Senor
    de los Cielos"(the "Series") as communicated to you via e-mail on June 18,2013, and consistent with
    the provisions more fully described in the Term Sheet(the "Term Sheet")attached hereto as Annex A.
    All capitalized terms used but not defined herein shall have the meaning ascribed to such tenn in the
    Agreement.

           By executing this Offer Letter, you hereby agree that this Term Sheet constitutes a binding
    agreement with respect to the transactions contemplated herein and acknowledge that Caracol has
    agreed to the terms and conditions of the Term Sheet which will be incorporated into subsequent long-
    form agreement(s),including a License Agreement between Caracol and TTS.

            This Offer Letter, including the Tenn Sheet,shall be in all respects governed by and construed in
    accordance with the laws ofthe State of Florida. All claims arising out of or relating to the Offer Letter
    shall be litigated exclusively in the federal or state courts of Miami Dade, Florida, and each party
    consents to personal jurisdiction in those courts. No amendment, modification or discharge of this
    Agreement, and no waiver hereunder shall be valid or binding unless set forth in writing and duly
    executed by the party against whom enforcement of the amendment, modification, discharge or waiver
    is sought. No delay or failure at any time on the part of any party in exercising any right, power or
    privilege under this Offer Letter, or in enforcing any provision of the Term Sheet, shall impair any such
    right, power or privilege, or be construed as a waiver of such provision, or be construed as a waiver of
                                                         2290 Weal 8.Avenue,Hialeah, Florida 33010
                                   'Florida Authorized House Counsel and Licensed and a Member ofThe New York State Bar




                                                                                                                                               Exhibit "F"
CONFIDENTIAL                                                                                                                                             CR1 01.0770
     Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 5 of 43




    Mr. Felipe Boshell
    August 9,2013                                                                                                 Deleted:6
    Page 2

    any default or acquiescence therein, or shall affect the right of such party thereafter to enforce each and
    every provision ofthis Offer Letter in accordance with its terms.

           Should you have any questions,as always, please feel free to contact me.


    Sincerely,

    TELEMUNDO TELEVISION STUDIOS,LLC




    ACCEPTED AND AGREED:

    CARACOL TELEVISION S.A.




           cc:     Mr. Marcos Santana(Marcos.Santana bauzi.com)
                   Mr. Joshua Mintz(Joshua.Mintz@nbouni.com)




                                                                                                                              Exhibit "F"
CONFIDENTIAL                                                                                                                            CR1 01.0771
     Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 6 of 43




    Mr. Felipe Boshell
    August 9,2013                                                                                          Deleted:6
    Page 3

                                                 Annex A

                                             TERM SHEET

     1. Parties:              a. Caracol Television S.A.("Caracol")
                              b. Telemundo Television Studios,LLC("TTS")
                              c. Telemundo Internacional,LLC("Tr)

    2. Date:                 As of August6,2013

     3. Sequel:               a. TTS will develop, produce,own,and distribute a sequel to the
                                 "El Senor de los Cielos"(the "Series")for the exhibition and
                                 exploitation in the United States,its territories, as well as
                                 throughout the world (the "Sequel").

                              b. The Sequel will be based on the original format of the Series,
                                 which TTS shall have all right to use all elements(e.g.,
                                 characters,story, scenarios, locales,etc.)derived from the
                                 Series and any new elements added by TTS for purposes of
                                 creating the Sequel. For clarity, TTS will not be entitled to use
                                 images and content licensed by Caracol for the Series,except as
                                 agreed mutually by the Parties in a case-by-case scenario.

    4. Number ofEpisodes:,   The Sequel shall consist ofapproximately sixty(60)episodes of
       Length:               approximately forty-two(42)minutes in length.

     5. Production:          TTS,shall have the exclusive right to produce and exploit the Sequel,     _   Deleted: elemundo
                             which Caracol shall have certain exhibition rights as granted herein.         Deleted: provided that



    6. Development &         TTS shall have exclusive creative decisions,development of budgets
       Control ofthe Sequel: and casting, among other matters in the development and production
                             ofthe Sequel.

     7. Ownership:           From inception through all stages ofcompletion,the Sequel and all
                             elements thereof,including the underlying works, fonnat and scripts
                             ofthe Series, will be exclusively owned by TTS throughout the
                             world.

                             TTS will own and control all exclusive, irrevocable and perpetual
                             right, title and interest(including copyright), throughout the universe
                             in and to the Sequel and all derivatives of the Sequel, and all
                             elements, underlying works or portions thereof including all raw
                             footage, from the inception of production, in any and all media and
                             formats, now known or hereafter devised, in perpetuity, including
                             without limitation all literary, dramatic, or other material contained




                                                                                                                           Exhibit "F"
CONFIDENTIAL                                                                                                                         CR1 01.0772
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 7 of 43




    Mr. Felipe Boshell
    August 9 2013                                                                                      :;.,{ Deleted:6                           )
    Page 4                                                                                              •


                              therein, and the results and proceeds of the services in connection
                              therewith.

    8. Reserved Rights:       All and any rights not granted expressly herein to Caracol shall be
                              expressly reserved by„TTS.                                               __:{Deleted: Telemundo                   )

    9. License:               During the Term, TB,.. grants to Caracol a limited,exclusive license     „ -{ Deleted: elemundo
                              to exhibit the Series in Colombia,and the name,logos and related              {-Deleted:,                          )
                              trademarks in connection with the Sequel and promotion thereof.
    10. Caracol Exhibition     a) Territory: Caracol shall have the exclusive exhibition license to
        License:                  the Sequel in Colombia (the "Territory").
                               b) Term: Caracol shall have the right to nm the Sequel for a
                                  period ofthree(3)years in the Territory, with no license
                                  payment due to TTS.
                                                                                                              Deleted: at zero cost             )
                               c) Runs: Three(3)runs.
                               d) Exclusive Media: Free-tv over-the-air broadcast in the
                                  Territory.
                               e) Non-exclusive Media: Pay-tv 4n the Territory.                             {Deleted:

                               f) Excluded Media. All digitalplatforms,including SVOD.
                                  download to own,electronic sell through,home entertainment
                                                                                                            {Deleted:,ere/fang                   )
                                  and any allied and ancillary rights related to the Sequel
                                  ("Ancillary Rights'). TTS may grant a non-exclusive license to
                                  Cameo!for SVOD if such rights are available after production
                                  ofthe Sequel.
                               g) Authorized Language: Spanish language only.

                               h) Sublicensing: Caracol may not sublicense the exhibition rights
                                  granted by TTS to any third party.

     11. Caracol International TTS shall provide Caracol with detailed accountings on a quarterly
         Profit Participation: basis (no later than 30 days following each such quarter); and TTS
                               shall pay Caracol a participation equal to 15% of 100% of Foreign
                               Net Sales(as defined below).

                              "Foreign Net Sales" shall mean all gross amounts actually received
                              by and/or credited to TTS in connection with the exploitation of the
                              Series throughout Participation Territory, less only (i) the
                              Distribution Fee (as defined below),(ii) TTS's actual, out-of-pocket
                              third party costs and expenses in connection with the exploitation of
                              the Sequel throughout the Participation Territory, and (iii) any third
                              party participation attributable to the exploitation of the Sequel




                                                                                                                              Exhibit "F"
CONFIDENTIAL                                                                                                                            CR1 01.0773
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 8 of 43




    Mr. Felipe Boshell
    August 9,2013                                                                                       "    Deleted:6
    Page 5

                              throughout the Participation Territory.,                                       Deleted:

                              'Distribution Fee" means a 25% distributor fee,less distribution              I: Deleted:
                              fees and expenses, marketing,advertising and promotional expenses,
                              and any applicable taxes.
                              "Excluded Territory" means the exploitation ofthe Sequel
                              throughout the United States, its possessions and territories„Mexico,     { Deleted:
                              and the Telemundo and Telemundo Internacional branded and/or
                              affiliated channels throughout the world,including Mun2.
                              "Participation Territory"means on a worldwide basis excluding
                              the Excluded Territory.
                              "Production Budget" means all costs and expenses associated with
                              the below-the-line and above-the-line production and delivery
                              elements associated,directly or indirectly, with the Sequel.

     12.   Governing Law:     This Term Sheet shall be in all respects governed by and construed
                              in accordance with the laws ofthe State ofFlorida.

     13.   Confidentiality:   Any information supplied by either party to the other shall be
                              deemed proprietary and shall be treated as strictly confidential by the
                              receiving party. Except as may be required by law or pursuant to
                              subpoena or order of any judicial, legislative, executive, regulatory
                              or administrative body,the receiving party shall not copy or disclose
                              such information to a third party, except as is necessary to
                              implement this Term Sheet or as may be approved in writing by the
                              other party, or as may be in the public domain through no fault of
                              the receiving party.




                                                                                                                          Exhibit "F"
CONFIDENTIAL                                                                                                                        CR1 01.0774
     Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 9 of 43




                                                                                                MELANIE M. MONTENEGRO
                    •i
                                                                                                VP,Business & Legal Affairs
                                                                                                Dir 305 889-7929
     TEILER'     , 11Nalki;  ;:)                                                                Melanie.Monteriegro@ritnuni.cora
     A Division of NBC Universal




    August 2,2013                                                                                                                  Deleted:6




    VIA CERTIF7ED MAIL & ELECTRONICE-MAIL (fboshelkacaracoltv.com.co)


    Mr. Felipe Boshell
    General Manager
    Caracol Television S.A.
    Calle 103,069B-43
    Bogota D.C.
    Colombia


              Re:         El Senor de Los Cielos Sequel


    Dear Mr. Boshell,

            This offer letter is being provided to you pursuant to Section 5(b) of the Co-Production
    Agreement dated as of October 25, 2012, as amended on March 11, 2013 (collectively, the
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    de los Cielos"(the "Series") as communicated to you via e-mail on June 18,2013, and consistent with
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    agreement with respect to the transactions contemplated herein and acknowledge that Caracol has
    agreed to the terms and conditions of the Term Sheet which will be incorporated into subsequent long-
    form agreement(s),including a License Agreement between Caracol and TTS.

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    shall be litigated exclusively in the federal or state courts of Miami Dade, Florida, and each party
    consents to personal jurisdiction in those courts. No amendment, modification or discharge of this
    Agreement, and no waiver hereunder shall be valid or binding unless set forth in writing and duly
    executed by the party against whom enforcement of the amendment, modification, discharge or waiver
    is sought. No delay or failure at any time on the part of any party in exercising any right, power or
    privilege under this Offer Letter, or in enforcing any provision of the Term Sheet, shall impair any such
    right, power or privilege, or be construed as a waiver of such provision, or be construed as a waiver of
                                                         2290 Weal 8.Avenue,Hialeah, Florida 33010
                                   'Florida Authorized House Counsel and Licensed and a Member ofThe New York State Bar




                                                                                                                                               Exhibit "F"
CONFIDENTIAL                                                                                                                                             CR1 01.0775
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 10 of 43




    Mr. Felipe Boshell
    August 9,2013                                                                                                 Deleted:6
    Page 2

    any default or acquiescence therein, or shall affect the right of such party thereafter to enforce each and
    every provision ofthis Offer Letter in accordance with its terms.

           Should you have any questions,as always, please feel free to contact me.


    Sincerely,

    TELEMUNDO TELEVISION STUDIOS,LLC




    ACCEPTED AND AGREED:

    CARACOL TELEVISION S.A.




           cc:     Mr. Marcos Santana(Marcos.Santana bauzi.com)
                   Mr. Joshua Mintz(Joshua.Mintz@nbouni.com)




                                                                                                                              Exhibit "F"
CONFIDENTIAL                                                                                                                            CR1 01.0776
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 11 of 43




    Mr. Felipe Boshell
    August 9,2013                                                                                          Deleted:6
    Page 3

                                                 Annex A

                                             TERM SHEET

     1. Parties:              a. Caracol Television S.A.("Caracol")
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                                 characters,story, scenarios, locales,etc.)derived from the
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    6. Development &         TTS shall have exclusive creative decisions,development of budgets
       Control ofthe Sequel: and casting, among other matters in the development and production
                             ofthe Sequel.

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                             elements thereof,including the underlying works, fonnat and scripts
                             ofthe Series, will be exclusively owned by TTS throughout the
                             world.

                             TTS will own and control all exclusive, irrevocable and perpetual
                             right, title and interest(including copyright), throughout the universe
                             in and to the Sequel and all derivatives of the Sequel, and all
                             elements, underlying works or portions thereof including all raw
                             footage, from the inception of production, in any and all media and
                             formats, now known or hereafter devised, in perpetuity, including
                             without limitation all literary, dramatic, or other material contained




                                                                                                                           Exhibit "F"
CONFIDENTIAL                                                                                                                         CR1 01.0777
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 12 of 43




    Mr. Felipe Boshell
    August 9 2013                                                                                      :;.,{ Deleted:6                           )
    Page 4                                                                                              •


                              therein, and the results and proceeds of the services in connection
                              therewith.

    8. Reserved Rights:       All and any rights not granted expressly herein to Caracol shall be
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                              to exhibit the Series in Colombia,and the name,logos and related              {-Deleted:,                          )
                              trademarks in connection with the Sequel and promotion thereof.
    10. Caracol Exhibition     a) Territory: Caracol shall have the exclusive exhibition license to
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                                  payment due to TTS.
                                                                                                              Deleted: at zero cost             )
                               c) Runs: Three(3)runs.
                               d) Exclusive Media: Free-tv over-the-air broadcast in the
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                               e) Non-exclusive Media: Pay-tv 4n the Territory.                             {Deleted:

                               f) Excluded Media. All digitalplatforms,including SVOD.
                                  download to own,electronic sell through,home entertainment
                                                                                                            {Deleted:,ere/fang                   )
                                  and any allied and ancillary rights related to the Sequel
                                  ("Ancillary Rights'). TTS may grant a non-exclusive license to
                                  Cameo!for SVOD if such rights are available after production
                                  ofthe Sequel.
                               g) Authorized Language: Spanish language only.

                               h) Sublicensing: Caracol may not sublicense the exhibition rights
                                  granted by TTS to any third party.

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         Profit Participation: basis (no later than 30 days following each such quarter); and TTS
                               shall pay Caracol a participation equal to 15% of 100% of Foreign
                               Net Sales(as defined below).

                              "Foreign Net Sales" shall mean all gross amounts actually received
                              by and/or credited to TTS in connection with the exploitation of the
                              Series throughout Participation Territory, less only (i) the
                              Distribution Fee (as defined below),(ii) TTS's actual, out-of-pocket
                              third party costs and expenses in connection with the exploitation of
                              the Sequel throughout the Participation Territory, and (iii) any third
                              party participation attributable to the exploitation of the Sequel




                                                                                                                              Exhibit "F"
CONFIDENTIAL                                                                                                                            CR1 01.0778
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 13 of 43




    Mr. Felipe Boshell
    August 9,2013                                                                                       "    Deleted:6
    Page 5

                              throughout the Participation Territory.,                                       Deleted:

                              'Distribution Fee" means a 25% distributor fee,less distribution              I: Deleted:
                              fees and expenses, marketing,advertising and promotional expenses,
                              and any applicable taxes.
                              "Excluded Territory" means the exploitation ofthe Sequel
                              throughout the United States, its possessions and territories„Mexico,     { Deleted:
                              and the Telemundo and Telemundo Internacional branded and/or
                              affiliated channels throughout the world,including Mun2.
                              "Participation Territory"means on a worldwide basis excluding
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                              "Production Budget" means all costs and expenses associated with
                              the below-the-line and above-the-line production and delivery
                              elements associated,directly or indirectly, with the Sequel.

     12.   Governing Law:     This Term Sheet shall be in all respects governed by and construed
                              in accordance with the laws ofthe State ofFlorida.

     13.   Confidentiality:   Any information supplied by either party to the other shall be
                              deemed proprietary and shall be treated as strictly confidential by the
                              receiving party. Except as may be required by law or pursuant to
                              subpoena or order of any judicial, legislative, executive, regulatory
                              or administrative body,the receiving party shall not copy or disclose
                              such information to a third party, except as is necessary to
                              implement this Term Sheet or as may be approved in writing by the
                              other party, or as may be in the public domain through no fault of
                              the receiving party.




                                                                                                                          Exhibit "F"
CONFIDENTIAL                                                                                                                        CR1 01.0779
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 14 of 43




   From:                                                 Montenegro, Melanie (NBCUniversal) <Melanie.Montenegro@nbcuni.com>
   Sent:                                                 Thursday, August 15, 2013 4:54 PM
   To:                                                   Felipe Boshell
   Subject:                                              RE: Revised Offer Letter
   Attachments:                                          Caracol Offer Letter re Sequel to ESDLC (redline 8 15 13 version 2).doc




   As we discussed earlier, please see attached redline incorporating certain changes discussed. The
   percentage remains open at this point. I look forward to speaking to you later today.



   Regards,
   -Melanie

         From: Montenegro, Melanie (NBCUniversal)
         Sent: Thursday, August 15, 2013 1:13 PM
         To: FELIPE BOSHELL
         Subject: Revised Offer Letter

         Felipe,

         In continuation with our discussions, attached is the revised offer letter. I will be calling
         you at 1:20 to continue our discussions. I look forward to speaking to you.




         Regards,

                                                 MELANIE M. MONTENEGRO
                                                 Vice President


              7
             TELE MU NDO
                                                 Business & Legal Affairs
                                                 Telemundo Media
                                                 0: 305 889 7929
                                                 0:786 394 1212
                                                 M:786 442 7571
                                                 F: 305 889 7926
                                                 Melanie.MontenegroAnbcunicom

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                                                                                                         1



                                                                                                                                                                                   Exhibit "F"
CONFIDENTIAL                                                                                                                                                                                                  CR1.01.0795
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                                             2


                                                                         Exhibit "F"
CONFIDENTIAL                                                                       CR1 01.0796
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CONFIDENTIAL
                                                                         ND                       Exhibit "F"
                                                                                                           cR1.01.0797
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                                                                                                MELANIE M. MONTENEGRO
                    •i
                                                                                                VP,Business & Legal Affairs
                                                                                                Dir 305 889-7929
     TEILER'     , 11Nalki;  ;:)                                                                Melanie.Monteriegro@ritnuni.cora
     A Division of NBC Universal




    August 15,2013


    VIA CERTIFIED MAIL & ELECTRONICE-MAIL (fboshelkacaracoltv.com.co)


    Mr. Felipe Boshell
    General Manager
    Caracol Television S.A.
    Calle 103,069B-43
    Bogota D.C.
    Colombia


              Re:         El Senor de Los Cielos Sequel


    Dear Mr. Boshell,

            This offer letter is being provided to you pursuant to Section 5(b) of the Co-Production
    Agreement dated as of October 25, 2012, as amended on March 11, 2013 (collectively, the
    "Agreement") between Telemundo Television Studios, LLC ("TTS") and Caracol Television, S.A.
    ("Caracol"). We are pleased to confirm the offer by TTS to produce a sequel ofthe telenovela "El Senor
    de los Cielos"(the "Series") as communicated to you via e-mail on June 18,2013, and consistent with
    the provisions more fully described in the Term Sheet(the "Term Sheet")attached hereto as Annex A.
    All capitalized terms used but not defined herein shall have the meaning ascribed to such tenn in the
    Agreement.

           By executing this Offer Letter, you hereby agree that this Term Sheet constitutes a binding
    agreement with respect to the transactions contemplated herein and acknowledge that Caracol has
    agreed to the terms and conditions of the Term Sheet which will be incorporated into subsequent long-
    form agreement(s),including a License Agreement between Caracol and TTS.

            This Offer Letter, including the Tenn Sheet,shall be in all respects governed by and construed in
    accordance with the laws ofthe State of Florida. All claims arising out of or relating to the Offer Letter
    shall be litigated exclusively in the federal or state courts of Miami Dade, Florida, and each party
    consents to personal jurisdiction in those courts. No amendment, modification or discharge of this
    Agreement, and no waiver hereunder shall be valid or binding unless set forth in writing and duly
    executed by the party against whom enforcement of the amendment, modification, discharge or waiver
    is sought. No delay or failure at any time on the part of any party in exercising any right, power or
    privilege under this Offer Letter, or in enforcing any provision of the Term Sheet, shall impair any such
    right, power or privilege, or be construed as a waiver of such provision, or be construed as a waiver of
                                                         2290 Weal 8.Avenue,Hialeah, Florida 33010
                                   'Florida Authorized House Counsel and Licensed and a Member ofThe New York State Bar




                                                                                                                                   Exhibit "F"
CONFIDENTIAL                                                                                                                                 CR1 01.0798
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 18 of 43




    Mr. Felipe Boshell
    August 15,2013
    Page 2

    any default or acquiescence therein, or shall affect the right of such party thereafter to enforce each and
    every provision ofthis Offer Letter in accordance with its terms.

           Should you have any questions,as always, please feel free to contact me.


    Sincerely,

    TELEMUNDO TELEVISION STUDIOS,LLC




    ACCEPTED AND AGREED:

    CARACOL TELEVISION S.A.




           cc:     Mr. Marcos Santana(Marcos.Santana bauzi.com)
                   Mr. Joshua Mintz(Joshua.Mintz@nbouni.com)




                                                                                                                  Exhibit "F"
CONFIDENTIAL                                                                                                                CR1 01.0799
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    Mr. Felipe Boshell
    August 15,2013
    Page 3

                                                 Annex A

                                             TERM SHEET

     1. Parties:              a. Caracol Television S.A.("Caracol")
                              b. Telemundo Television Studios,LLC("TTS")
                              c. Telemundo Internacional,LLC("Tr)

    2. Date:                 As of August 15,2013

     3. Sequel:               a. TTS will develop, produce,own,and distribute a sequel to the
                                 "El Senor de los Cielos"(the "Series")for the exhibition and
                                 exploitation in the United States,its territories, as well as
                                 throughout the world (the "Sequel").

                              b. The Sequel will be based on the original format of the Series,
                                 which TTS shall have all right to use all elements(e.g.,
                                 characters,story, scenarios, locales,etc.)derived from the
                                 Series and any new elements added by TTS for purposes of
                                 creating the Sequel. For clarity, TTS will not be entitled to use
                                 images and content licensed by Caracol for the Series,except as
                                 agreed mutually by the Parties in a case-by-case scenario.

    4. Number ofEpisodes:,   The Sequel shall consist ofapproximately sixty(60)episodes of
       Length:               approximately forty-two(42)minutes in length.

     5. Production:          TTS shall have the exclusive right to produce and exploit the Sequel,
                             which Caracol shall have certain exhibition rights as granted herein.


    6. Development &         TTS shall have exclusive creative decisions,development of budgets
       Control ofthe Sequel: and casting, among other matters in the development and production
                             ofthe Sequel.

     7. Ownership:           From inception through all stages ofcompletion,the Sequel and all
                             elements thereof,including the underlying works, fonnat and scripts
                             ofthe Series, will be exclusively owned by TTS throughout the
                             world.

                             TTS will own and control all exclusive, irrevocable and perpetual
                             right, title and interest(including copyright), throughout the universe
                             in and to the Sequel and all derivatives of the Sequel, and all
                             elements, underlying works or portions thereof including all raw
                             footage, from the inception of production, in any and all media and
                             formats, now known or hereafter devised, in perpetuity, including
                             without limitation all literary, dramatic, or other material contained




                                                                                                       Exhibit "F"
CONFIDENTIAL                                                                                                     CR1 01.0800
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    Mr. Felipe Boshell
    August 15,2013
    Page 4

                             therein, and the results and proceeds of the services in connection
                             therewith.

     8. Reserved Rights:     All and any rights not granted expressly herein to Caracol shall be
                             expressly reserved by TTS.

    9. License:              During the Term, TTS grants to Caracol a limited exclusive license
                             to exhibit the Series in Colombia,and the name, logos and related
                             trademarks in connection with the Sequel and promotion thereof.
    10. Caracol Exhibition   a) Territory: golombia(the"Territory").                                Deleted: Cancel shall have the exclusive exhibition Hoer= to thc
        License:                                                                                    Sequel in
                             b) Term:caracol shall have the right to run the Sequel as              Deleted:
                                specified herein for a period ofthree(3)years in the Territory
                                flee ofany license fee payment due to TTS.

                             c) Runs: Three(3)runs. Caracol will pay any applicable re-run,
                                residual or other re-use or transmission payments(including
                                any applicable payments related to the employment of non-
                                union actors or the "buy-out"ofapplicable residuals as may be
                                required for the use ofthe Sequel in Colombia). If, after the
                                expiration ofthe exhibition term,Caracol is interested in
                                additional exhibitions ofthe Sequel in the Territory, Caracol
                                and Telemundo will negotiate in good faith the applicable
                                terms thereof.
                             d) Exclusive Media: Caracol shall have the exclusive exhibition
                                license to the Sequel overfree-tv over-the-air broadcast in the    , Deleted: F
                                Territory.
                             e) Non-exclusive Media: Caracol shall have the non-exclusive
                                exhibition license to the Sequel overpay-tv in the Territory.       Deleted: P


                             f) Excluded Media: All digital platforms,including SVOD,
                                download to own,electronic sell through,home entertainment
                                and any allied and ancillary rights related to the Sequel
                                ("Ancillary Rights'). Notwithstanding. the fomo:oine. TTS shall
                                grant(i)a catch-up period ofonc 1\ cek to air tlic Sequel on
                                Caracol's digital internet channel and (ii)a non-exclusive
                                license to Caracol for SVOD on its current SVOD platform,
                                provided such rights are available after production ofthe
                                Sequel.
                             g) Authorized Language: Spanish language only.

                             h) Sublicensing: Caracol may not sublicense the exhibition rights
                                granted by TTS to any third party.




                                                                                                                     Exhibit "F"
CONFIDENTIAL                                                                                                                                   CR1 01.0801
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    Mr. Felipe Boshell
    August 15,2013
    Page 5

     11. Caracol International TTS shall pay Caracol a foreign participation equal to 15% of 100%
         Profit Participation: of Foreign Net Sales (as defined below) after recoupment of D1111.1
                               of the Production Budget. TTS shall provide Caracol with detailed
                               accountings of TI's Foreign Net Sales on a quarterly basis (no later
                               than 30 days following each such quarter).

                               "Foreign Net Sales" shall mean all gross amounts actually received
                               by and/or credited to TI in connection with the exploitation of the
                               Sequel throughout the Participation Territory, less only (i) the
                               Distribution Fee (as defined below),(ii) TTS's actual, out-of-pocket
                               third party costs and expenses in connection with the exploitation of
                               the Sequel throughout the Participation Territory, and (iii) any third
                               party participation attributable to the exploitation of the Sequel
                               throughout the Participation Territory.
                               "Distribution Fee" means a 25% distributor fee,less distribution
                               fees and expenses, marketing,advertising and promotional expenses,
                               and any applicable taxes.
                               "Excluded Tenitory" means the exploitation ofthe Sequel
                               throughout the United States, its possessions and territories, Mexico,
                               and the Telemundo and Telemundo Internacional branded and/or
                               affiliated channels throughout the world,including Mun2.
                               -Participation Territory"means on a worldwide basis excluding
                               the Excluded Territory.
                               "Production Budget" means all costs and expenses associated with
                               the below-the-line and above-the-line production and delivery
                               elements associated,directly or indirectly, with the Sequel.

     12.   Governing Law:      This Term Sheet shall be in all respects governed by and construed
                               in accordance with the laws ofthe State ofFlorida.

     13.   Confidentiality:    Any information supplied by either party to the other shall be
                               deemed proprietary and shall be treated as strictly confidential by the
                               receiving party. Except as may be required by law or pursuant to
                               subpoena or order of any judicial, legislative, executive, regulatory
                               or administrative body,the receiving party shall not copy or disclose
                               such information to a third party, except as is necessary to
                               implement this Term Sheet or as may be approved in writing by the
                               other party, or as may be in the public domain through no fault of
                               the receiving party.




                                                                                                         Exhibit "F"
CONFIDENTIAL                                                                                                       CR1 01.0802
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    Mr. Felipe Boshell
    August 15.2013
    Page 6




                                                                         Exhibit "F"
CONFIDENTIAL                                                                       CR1.01.0803
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   From:                                                          Montenegro, Melanie (NBCUniversal) <Melanie.Montenegro@nbcuni.com>
   Sent:                                                          Thursday, August 15, 2013 1:14 PM
   To:                                                            Felipe Boshell
   Subject:                                                       Revised Offer Letter
   Attachments:                                                   Caracol Offer Letter re Sequel to ESDLC (clean 8 15 13).doc; Caracol Offer Letter re
                                                                  Sequel to ESDLC (redline 8 15 13).doc



   Felipe,

   In continuation with our discussions, attached is the revised offer letter. I will be calling you at
   1:20 to continue our discussions. I look forward to speaking to you.




   Regards,

                                           MELANIE M. MONTENEGRO
                                           Vice President
                                           Business & Legal Affairs
                                           Telemundo Media
                                           0:305 889 7929
                                           0:786 394 1212
                                           M:786442 7571
       TELEMUNDO                           F: 305 889 7926
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                                                                                                                  1



                                                                                                                                                                                            Exhibit "F"
CONFIDENTIAL                                                                                                                                                                                                          CR1.01.0783
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CONFIDENTIAL
                                                                         ND                       Exhibit "F"
                                                                                                           cR1 01
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                                                                                                   MELANIE M. MONTENEGRO
                                                                                                   VP,Business & Legal Affairs
                                                                                                   Dir 305 889-7929
              giVRID©                                                                              Melanie.Montenegro@nbcuni.com
       A Division of NBC Universal




      August 15, 2013


      VIA CERTIFIED MAIL & ELECTRONICE-MAIL (/boshell@caracolttcom.co)


      Mr. Felipe Boshell
      General Manager
      Caracol Television S.A.
      Calle 103, #69B-43
      Bogota D.C.
      Colombia


                Re:         El Senor de Los Cielos Sequel


      Dear Mr. Boshell,

              This offer letter is being provided to you pursuant to Section 5(b) of the Co-Production
      Agreement dated as of October 25, 2012, as amended on March 11, 2013 (collectively, the
      "Agreement") between Telemundo Television Studios, LLC ("TTS") and Caracol Television, S.A.
      ("Caracol"). We are pleased to confirm the offer by TTS to produce a sequel ofthe telenovela "El Senor
      de los Cielos" (the "Series") as communicated to you via e-mail on June 18, 2013, and consistent with
      the provisions more fully described in the Term Sheet (the "Term Sheet") attached hereto as Annex A.
      All capitalized terms used but not defined herein shall have the meaning ascribed to such term in the
      Agreement.

             By executing this Offer Letter, you hereby agree that this Term Sheet constitutes a binding
      agreement with respect to the transactions contemplated herein and acknowledge that Caracol has
      agreed to the terms and conditions of the Term Sheet which will be incorporated into subsequent long-
      form agreement(s), including a License Agreement between Caracol and TTS.

              This Offer Letter, including the Term Sheet, shall be in all respects governed by and construed in
      accordance with the laws ofthe State of Florida. All claims arising out of or relating to the Offer Letter
      shall be litigated exclusively in the federal or state courts of Miami Dade, Florida, and each party
      consents to personal jurisdiction in those courts. No amendment, modification or discharge of this
      Agreement, and no waiver hereunder shall be valid or binding unless set forth in writing and duly
      executed by the party against whom enforcement of the amendment, modification, discharge or waiver
      is sought. No delay or failure at any time on the part of any party in exercising any right, power or
      privilege under this Offer Letter, or in enforcing any provision ofthe Term Sheet, shall impair any such
      right, power or privilege, or be construed as a waiver of such provision, or be construed as a waiver of
                                                           2290 \Vest 8" Avenue, Hialeah, Florida 33010
                                     *Florida Authorized House Counsel and Licensed and a Member of the New York State Bar

                                                                                                                             Exhibit "F"
CONFIDENTIAL                                                                                                                           CR1.01.0785
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      Mr. Felipe Boshell
      August 15, 2013
      Page 2

      any default or acquiescence therein, or shall affect the right of such party thereafter to enforce each and
      every provision ofthis Offer Letter in accordance with its terms.

             Should you have any questions, as always, please feel free to contact me.


      Sincerely,

      TELEMUNDO TELEVISION STUDIOS,LLC




      ACCEPTED AND AGREED:

      CARACOL TELEVISION S.A.




             cc:     Mr. Marcos Santana(Marcos.Santana@nbcunixom)
                     Mr. Joshua Mintz(Joshua.Mintz@nbcuni.com)




                                                                                                Exhibit "F"
CONFIDENTIAL                                                                                                 CR1 01.0786
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      Mr. Felipe Boshell
      August 15, 2013
      Page 3

                                                    Annex A

                                                TERM SHEET

       1. Parties:               a. Caracol Television S.A.("Caracol")
                                 b. Telemundo Television Studios, LLC("TTS")
                                 c. Telemundo Internacional, LLC ("TI")

       2. Date.                  As of August 15, 2013

       3. Sequel:                a. TTS will develop, produce, own, and distribute a sequel to the
                                    "El Serior de los Cielos"(the "Series")for the exhibition and
                                    exploitation in the United States, its territories, as well as
                                    throughout the world (the "Sequel").

                                 b. The Sequel will be based on the original format ofthe Series,
                                    which TTS shall have all right to use all elements (e.g.,
                                    characters, story, scenarios, locales, etc.) derived from the
                                    Series and any new elements added by TTS for purposes of
                                    creating the Sequel. For clarity, TTS will not be entitled to use
                                    images and content licensed by Caracol for the Series, except as
                                    agreed mutually by the Parties in a case-by-case scenario.

       4. Number ofEpisodes.
                           , The Sequel shall consist of approximately sixty(60)episodes of
          Length:            approximately forty-two(42) minutes in length.

       5. Production:            TTS shall have the exclusive right to produce and exploit the Sequel,
                                 which Caracol shall have certain exhibition rights as granted herein.


       6. Development &         TTS shall have exclusive creative decisions, development of budgets
          Control ofthe Sequel: and casting, among other matters in the development and production
                                ofthe Sequel.

       7. Ownership:            From inception through all stages of completion, the Sequel and all
                                elements thereof, including the underlying works,format and scripts
                                ofthe Series, will be exclusively owned by TTS throughout the
                                world.

                                TTS will own and control all exclusive, irrevocable and perpetual
                                right, title and interest (including copyright), throughout the universe
                                in and to the Sequel and all derivatives of the Sequel, and all
                                elements, underlying works or portions thereof, including all raw
                                footage, from the inception of production, in any and all media and
                                formats, now known or hereafter devised, in perpetuity, including
                                without limitation all literary, dramatic, or other material contained



                                                                                              Exhibit "F"
CONFIDENTIAL                                                                                               CR1 01.0787
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      Mr. Felipe Boshell
      August 15, 2013
      Page 4

                                therein, and the results and proceeds of the services in connection
                                therewith.

       8. Reserved Rights:      All and any rights not granted expressly herein to Caracol shall be
                                expressly reserved by TTS.

       9 License.
                                During the Term, TTS grants to Caracol a limited exclusive license
                                to exhibit the Series in Colombia, and the name,logos and related
                                trademarks in connection with the Sequel and promotion thereof.
      10. Caracol Exhibition     a) Territory: Caracol shall have the exclusive exhibition license to
          License:                  the Sequel in Colombia(the "Territory").
                                 b) Term: Caracol shall have the right to run the Sequel for a
                                    period ofthree(3)years in the Territory free of any license fee
                                    payment due to TTS.
                                 c) Runs: Three(3)runs. Caracol will pay any applicable re-run,
                                    residual or other re-use or transmission payments (including
                                    any applicable payments related to the employment of non-
                                    union actors or the "buy-out" of applicable residuals as may be
                                    required for the use ofthe Sequel in Colombia). If, after the
                                    expiration ofthe exhibition term, Caracol is interested in
                                    additional exhibitions ofthe Sequel in the Territory, Caracol
                                    and Telemundo will negotiate in good faith the applicable
                                    terms thereof.
                                 d) Exclusive Media Free-tv over-the-air broadcast in the
                                    Territory.
                                 e) Non-exclusive Media: Pay-tv in the Territory.
                                 f) Excluded Media: All digital platforms, including SVOD,
                                    download to own, electronic sell through, home entertainment
                                    and any allied and ancillary rights related to the Sequel
                                    ("Ancillary Rights'). TTS shall grant a non-exclusive license to
                                    Caracol for SVOD on its current SVOD platform, provided
                                    such rights are available after production ofthe Sequel.
                                 g) Authorized Language: Spanish language only.

                                 h) Sublicensing: Caracol may not sublicense the exhibition rights
                                    granted by TTS to any third party.

       11. Caracol International TTS shall pay Caracol a foreign participation equal to 15% of 100%
           Profit Participation: of Foreign Net Sales (as defined below) after recoupment of the
                                 Production Budget. TTS shall provide Caracol with detailed



                                                                                            Exhibit "F"
CONFIDENTIAL                                                                                            CR1 01.0788
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      Mr. Felipe Boshell
      August 15, 2013
      Page 5

                                accountings of TI's Foreign Net Sales on a quarterly basis (no later
                                than 30 days following each such quarter).

                                "Foreign Net Sales" shall mean all gross amounts actually received
                                by and/or credited to TI in connection with the exploitation of the
                                Sequel throughout the Participation Territory, less only (i) the
                                Distribution Fee (as defined below),(ii) TTS's actual, out-of-pocket
                                third party costs and expenses in connection with the exploitation of
                                the Sequel throughout the Participation Territory, and (iii) any third
                                party participation attributable to the exploitation of the Sequel
                                throughout the Participation Territory.

                                "Distribution Fee" means a 25% distributor fee, less distribution
                                fees and expenses, marketing, advertising and promotional expenses,
                                and any applicable taxes.
                                "Excluded Territory" means the exploitation ofthe Sequel
                                throughout the United States, its possessions and territories, Mexico,
                                and the Telemundo and Telemundo Internacional branded and/or
                                affiliated channels throughout the world, including Mun2.

                                "Participation Territory" means on a worldwide basis excluding
                                the Excluded Territory.
                                "Production Budget" means all costs and expenses associated with
                                the below-the-line and above-the-line production and delivery
                                elements associated, directly or indirectly, with the Sequel.

       12.   Governing Law:     This Term Sheet shall be in all respects governed by and construed
                                in accordance with the laws ofthe State ofFlorida.

       13    Confidentiality:   Any information supplied by either party to the other shall be
                                deemed proprietary and shall be treated as strictly confidential by the
                                receiving party. Except as may be required by law or pursuant to
                                subpoena or order of any judicial, legislative, executive, regulatory
                                or administrative body, the receiving party shall not copy or disclose
                                such information to a third party, except as is necessary to
                                implement this Term Sheet or as may be approved in writing by the
                                other party, or as may be in the public domain through no fault of
                                the receiving party.




                                                                                             Exhibit "F"
CONFIDENTIAL                                                                                              CR1 01.0789
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                                                                                                MELANIE M. MONTENEGRO
                    •i
                                                                                                VP,Business & Legal Affairs
                                                                                                Dir 305 889-7929
     TEILER'     , 11Nalki;  ;:)                                                                Melanie.Monteriegro@rilnuni.cora
     A Division of NBC Universal




    August,j1,2013                                                                                                                 .1 Deleted:9




    VIA CERTII,ILD MAIL & ELECTRONICE-MAIL (fboshell(0,caracoltv.com.co)


    Mr. Felipe Boshell
    General Manager
    Caracol Television S.A.
    Calle 103,069B-43
    Bogota D.C.
    Colombia


              Re:         El Senor de Los Cielos Sequel


    Dear Mr. Boshell,

            This offer letter is being provided to you pursuant to Section 5(b) of the Co-Production
    Agreement dated as of October 25, 2012, as amended on March 11, 2013 (collectively, the
    "Agreement") between Telemundo Television Studios, LLC ("TTS") and Caracol Television, S.A.
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    de los Cielos"(the "Series") as communicated to you via e-mail on June 18,2013, and consistent with
    the provisions more fully described in the Term Sheet(the "Term Sheet")attached hereto as Annex A.
    All capitalized terms used but not defined herein shall have the meaning ascribed to such tenn in the
    Agreement.

           By executing this Offer Letter, you hereby agree that this Term Sheet constitutes a binding
    agreement with respect to the transactions contemplated herein and acknowledge that Caracol has
    agreed to the terms and conditions of the Term Sheet which will be incorporated into subsequent long-
    form agreement(s),including a License Agreement between Caracol and TTS.

            This Offer Letter, including the Tenn Sheet,shall be in all respects governed by and construed in
    accordance with the laws ofthe State of Florida. All claims arising out of or relating to the Offer Letter
    shall be litigated exclusively in the federal or state courts of Miami Dade, Florida, and each party
    consents to personal jurisdiction in those courts. No amendment, modification or discharge of this
    Agreement, and no waiver hereunder shall be valid or binding unless set forth in writing and duly
    executed by the party against whom enforcement of the amendment, modification, discharge or waiver
    is sought. No delay or failure at any time on the part of any party in exercising any right, power or
    privilege under this Offer Letter, or in enforcing any provision of the Term Sheet, shall impair any such
    right, power or privilege, or be construed as a waiver of such provision, or be construed as a waiver of
                                                         2290 Weal 8.Avenue,Hialeah, Florida 33010
                                   'Florida Authorized House Counsel and Licensed and a Member ofthe New York State Bar




                                                                                                                                                  Exhibit "F"
CONFIDENTIAL                                                                                                                                                CR1 01.0790
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    Mr. Felipe Boshell
    August‘15,2013                                                                                                Deleted:9
    Page 2

    any default or acquiescence therein, or shall affect the right of such party thereafter to enforce each and
    every provision ofthis Offer Letter in accordance with its terms.

           Should you have any questions,as always, please feel free to contact me.


    Sincerely,

    TELEMUNDO TELEVISION STUDIOS,LLC




    ACCEPTED AND AGREED:

    CARACOL TELEVISION S.A.




           cc:     Mr. Marcos Santana(Marcos.Santana bauzi.com)
                   Mr. Joshua Mintz(Joshua.Mintz .bouni.com)




                                                                                                                              Exhibit "F"
CONFIDENTIAL                                                                                                                            CR1 01.0791
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    Mr. Felipe Boshell
    August,15,2013                                                                                     Deleted:9
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                                                 Annex A

                                             TERM SHEET

     1. Parties:              a. Caracol Television S.A.("Caracol")
                              b. Telemundo Television Studios,LLC("TTS")
                              c. Telemundo Internacional,LLC("Tr)

    2. Date:                 As of Augustj5_,2013                                                      Deleted:6


     3. Sequel:               a. TTS will develop, produce,own,and distribute a sequel to the
                                 "El Senor de los Cielos"(the "Series")for the exhibition and
                                 exploitation in the United States,its territories, as well as
                                 throughout the world (the "Sequel").

                              b. The Sequel will be based on the original format of the Series,
                                 which TTS shall have all right to use all elements(e.g.,
                                 characters,story, scenarios, locales,etc.)derived from the
                                 Series and any new elements added by TTS for purposes of
                                 creating the Sequel. For clarity, TTS will not be entitled to use
                                 images and content licensed by Caracol for the Series,except as
                                 agreed mutually by the Parties in a case-by-case scenario.

    4. Number ofEpisodes:,   The Sequel shall consist ofapproximately sixty(60)episodes of
       Length:               approximately forty-two(42)minutes in length.

     5. Production:          TTS shall have the exclusive right to produce and exploit the Sequel,
                             which Caracol shall have certain exhibition rights as granted herein.


    6. Development &         TTS shall have exclusive creative decisions,development of budgets
       Control ofthe Sequel: and casting, among other matters in the development and production
                             ofthe Sequel.

     7. Ownership:           From inception through all stages ofcompletion,the Sequel and all
                             elements thereof,including the underlying works, fonnat and scripts
                             ofthe Series, will be exclusively owned by TTS throughout the
                             world.

                             TTS will own and control all exclusive, irrevocable and perpetual
                             right, title and interest(including copyright), throughout the universe
                             in and to the Sequel and all derivatives of the Sequel, and all
                             elements, underlying works or portions thereof including all raw
                             footage, from the inception of production, in any and all media and
                             formats, now known or hereafter devised, in perpetuity, including
                             without limitation all literary, dramatic, or other material contained




                                                                                                                   Exhibit "F"
CONFIDENTIAL                                                                                                                 CR1 01.0792
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    Mr. Felipe Boshell
    August,15,2013                                                                                             Deleted:9
    Page 4

                               therein, and the results and proceeds of the services in connection
                               therewith.

    8. Reserved Rights:        All and any rights not granted expressly herein to Caracol shall be
                               expressly reserved by TTS.

    9. License:                During the Term, TTS grants to Caracol a limited exclusive license
                               to exhibit the Series in Colombia,and the name, logos and related
                               trademarks in connection with the Sequel and promotion thereof.
    10. Caracol Exhibition      a) Territory: Caracol shall have the exclusive exhibition license to
        License:                   the Sequel in Colombia (the "Territory").
                                b) Term: Caracol shall have the right to nm the Sequel for a
                                   period ofthree(3)years in the Territory free of an'license fee         • I Deleted: with no license
                                   payment due to TTS.
                                C) Runs: Three(3)runs. Caracol will pay any applicable re-run,
                                   residual or other re-use or transmission payments(including
                                                                                                        . . .. •• •• •
                                   anymplicable payinents related to tlie ettiplo\ittetit of non-       • ..• ....••• .
                                   union actors or the "buy-out"ofapplicable residuals as may be        . • . ••• .. ••••
                                                                                                        • . •• ••• . .••• .
                                   1:c.cRliced rgf 111c: 3.1W 9fAtic..5q.M0..i9.c9ipmbia) lf,AT tbe
                                   expiration of the eNhibit ion term. Caracol is interested in
                                   A4ditionOsxhibitions of the Sequel in the Territory. Ctmicol
                                   and Telcmundo will negotiate in good faith the applicable
                                   terms thereof.
                                d) Exclusive Media: Free-tv over-the-air broadcast in the
                                   Territory.                                                           •.•.•.•.

                                                                                                              : : :: :               •
                               e) Non-exclusive Media: Pay-tv in the Territory.                        .• . • . • . • .• . • . • .

                               f) preluded Media: All digital platforms,including SVOD,                    [Formatted: Underline
                                   download to own,electronic sell through,home entertainment
                                  and any allied and ancillary rights related to the Sequel
                                  ("Ancillary Rights'). TTS shaRgrant a non-exclusive license to           {Deleted: may
                                  Caracol for SVOD on its current SVOD platform. provided
                                  ,such rights are available after production ofthe Sequel.                    Deleted: if

                                g) Authorized Language: Spanish language only.

                                h) Sublicensing: Caracol may not sublicense the exhibition rights
                                   granted by TTS to any third party.

     11. Caracol International ITS shall pay Caracol a foreimparticipation ecpial.to...1..
                                                                                        5 ollig(rf.!
                                                                                                   i
         Profit Participation: or Forc.i.i.,:n Net Sales (as defined below) after rceonpment of the
                               Production Budget. TTS shall provide Caracol with detailed




                                                                                                                                         Exhibit "F"
CONFIDENTIAL                                                                                                                                       CR1 01.0793
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 34 of 43




    Mr. Felipe Boshell
    August,15,2013                                                                                                Deleted:9
    Page 5                                                                                               •




                              accountings of Ti's Foreian Net Sales on a quarterly basis (no later
                              than 30 days following each such quarter),,                                         Deleted:;and
                                                                                                                  Deleted: TTS shall pay Caracol a participation equal to 15% of
                              "Foreign Net Sales" shall mean all gross amounts actually received                  100% of Foreign Net Sales(as defined below).
                              by and/or credited to j'I in connection with the exploitation of the                Deleted: rrs
                              Seq4e14hroughout the Participation Territory, less only (i) the                     Deleted: min
                              Distribution Fee (as defmed below),(ii) TTS's actual, out-of-pocket
                              third party costs and expenses in connection with the exploitation of
                              the Sequel throughout the Participation Territory, and (iii) any third
                              party participation attributable to the exploitation of the Sequel        • :•
                              throughout the Participation Territory.
                              "Distribution Fee" means a 25% distributor fee,less distribution           : :•
                              fees and expenses, marketing,advertising and promotional expenses,
                              and any applicable taxes.
                              "Excluded Tenitory" means the exploitation ofthe Sequel
                              throughout the United States, its possessions and territories, Mexico,
                              and the Telemundo and Telemundo Internacional branded and/or
                              affiliated channels throughout the world,including Mun2.
                              "Participation Territory"means on a worldwide basis excluding
                              the Excluded Territory.
                              "Production Budget" means all costs and expenses associated with
                              the below-the-line and above-the-line production and delivery
                              elements associated,directly or indirectly, with the Sequel.

     12.   Governing Law:     This Term Sheet shall be in all respects governed by and construed
                              in accordance with the laws ofthe State ofFlorida.

     13.   Confidentiality:   Any information supplied by either party to the other shall be
                              deemed proprietary and shall be treated as strictly confidential by the
                              receiving party. Except as may be required by law or pursuant to
                              subpoena or order of any judicial, legislative, executive, regulatory
                              or administrative body,the receiving party shall not copy or disclose
                              such information to a third party, except as is necessary to
                              implement this Term Sheet or as may be approved in writing by the
                              other party, or as may be in the public domain through no fault of
                              the receiving party.
                                                                                                        : •: • : • : • : •: • : • : • : •: • : • : • :
                                                                                                                  Deleted: ii




                                                                                                                                              Exhibit "F"
CONFIDENTIAL                                                                                                                                                 CR1 01.0794
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 35 of 43




   From:                               Montenegro, Melanie (NBCUniversal) <Melanie.Montenegro@nbcuni.com>
   Sent:                               Thursday, August 29, 2013 5:18 PM
   To:                                 Felipe Boshell
   Subject:                            FW: Revised Offer Letter
   Attachments:                        Caracol Offer Letter re Sequel to ESDLC (redline 8 27 13).doc


   Hola Felipe,

   Por favor confirma que te Ilego el correo electronic°.




   Regards,
   -Melanie

       Original Message
   From: Montenegro, Melanie (NBCUniversal)
   Sent: Tuesday, August 27, 2013 12:35 PM
   To:'FELIPE BOSH ELL'
   Subject: RE: Revised Offer Letter

   Hola Felipe,

   As discussed, attached is the revised offer letter which reflects the mutual understanding of the parties. If the revised
   language is satisfactory, please confirm so we can send you an executed letter for countersignature.

   Should you have any questions please let me know.

   Best Regards,
   -Melanie


       Original Message
   From: Montenegro, Melanie (NBCUniversal)
   Sent: Tuesday, August 27, 2013 11:01 AM
   To:'FELIPE BOSH ELL'
   Subject: RE: Revised Offer Letter

   Hola Felipe,

   Gracias por tu respuesta. Telemundo acepta el cambio sugerido y ahora las ambas partes estamos de acuerdo con los
   terminos finales. Te mando el term sheet final en unos momentos.


   Gracias,
   -Melanie

      Original Message
                                                                1

                                                                                                         Exhibit "F"
CONFIDENTIAL                                                                                                           CR1.01.0807
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 36 of 43
   From: FELIPE BOSHELL [mailto:fboshell@caracoltv.com.co]
   Sent: Monday, August 26, 2013 1:17 PM
   To: Montenegro, Melanie (NBCUniversal)
   Subject: Re: Revised Offer Letter

   Hola Melanie, despues de la Ilamada de la semana pasada he estado consultando internamente el tema.

   Nosotros quedariamos tranquilos con todo lo que proponen si se incluye a Mexico dentro de los paises de yentas
   internacionales.

   Dejame saber si estan ok con esto.

    Mil gracias

   Felipe Boshell




   De:"Montenegro, Melanie (NBCUniversal)"
   <Melanie.Montenegro@nbcuni.com<mailto:Melanie.Montenegro@nbcuni.com»
   Fecha: Thu, 15 Aug 2013 20:53:45 +0000
   Para: Felipe Boshell <fboshell@caracoltv.com.co<mailto:fboshell@caracoltv.com.co»
   Asunto: RE: Revised Offer Letter

   Felipe,

   As we discussed earlier, please see attached redline incorporating certain changes discussed. The percentage remains
   open at this point. I look forward to speaking to you later today.




   Regards,
   -Melanie

   From: Montenegro, Melanie (NBCUniversal)
   Sent: Thursday, August 15, 2013 1:13 PM
   To: FELIPE BOSH ELL
   Subject: Revised Offer Letter

   Felipe,

   In continuation with our discussions, attached is the revised offer letter. I will be calling you at 1:20 to continue our
   discussions. I look forward to speaking to you.




   Regards,

   [http://banners.nbcupromotes.com/imeemail/TELSG]<http://banners.nbcupromotes.corn/link/email/TELSG>


                                                                  2


                                                                                                           Exhibit "F"
CONFIDENTIAL                                                                                                             CR1.01.0808
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 37 of 43
   MELANIE M. MONTENEGRO
   Vice President
   Business & Legal Affairs
   Telem undo Media
   0: 305 889 7929
   0: 786 394 1212
   M:786 442 7571
   F: 305 889 7926
   Melanie.Montenegro@nbcuni.com<mailto:%0bMelanie.Montenegro@nbcuni.com>


   P Please consider the environment before printing this email

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   addressed herein.

         Licensed in New York and Authorized House Counsel in Florida.




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                                                                 3


                                                                                                          Exhibit "F"
CONFIDENTIAL                                                                                                             CR1.01.0809
    Case 1:18-cv-23443-DPG Document 64-9 Entered on FLSD Docket 08/23/2019 Page 38 of 43




          EiT                                                                                   MELANIE M. MONTENEGRO
                                                                                                VP,Business & Legal Affairs
                                                                                                Dir 305 889-7929
     TEILER'     , 11Nalki;  ;:)                                                                Melanie.Monteriegro@rilnuni.cora
     A Division of NBC Universal




    Augusta,2013                                                                                                                   Deleted: 15




    VIA CERTII,ILD MAIL & ELECTRONICE-MAIL (fboshelkacaracoltv.com.co)


    Mr. Felipe Boshell
    General Manager
    Caracol Television S.A.
    Calle 103,069B-43
    Bogota D.C.
    Colombia


              Re:         El Senor de Los Cielos Sequel


    Dear Mr. Boshell,

            This offer letter is being provided to you pursuant to Section 5(b) of the Co-Production
    Agreement dated as of October 25, 2012, as amended on March 11, 2013 (collectively, the
    "Agreement") between Telemundo Television Studios, LLC ("TTS") and Caracol Television, S.A.
    ("Caracol"). We are pleased to confirm the offer by TTS to produce a sequel ofthe telenovela "El Senor
    de los Cielos"(the "Series") as communicated to you via e-mail on June 18,2013, and consistent with
    the provisions more fully described in the Term Sheet(the "Term Sheet")attached hereto as Annex A.
    All capitalized terms used but not defined herein shall have the meaning ascribed to such tenn in the
    Agreement.

           By executing this Offer Letter, you hereby agree that this Term Sheet constitutes a binding
    agreement with respect to the transactions contemplated herein and acknowledge that Caracol has
    agreed to the terms and conditions of the Term Sheet which will be incorporated into subsequent long-
    form agreement(s),including a License Agreement between Caracol and TTS.

            This Offer Letter, including the Tenn Sheet,shall be in all respects governed by and construed in
    accordance with the laws ofthe State of Florida. All claims arising out of or relating to the Offer Letter
    shall be litigated exclusively in the federal or state courts of Miami Dade, Florida, and each party
    consents to personal jurisdiction in those courts. No amendment, modification or discharge of this
    Agreement, and no waiver hereunder shall be valid or binding unless set forth in writing and duly
    executed by the party against whom enforcement of the amendment, modification, discharge or waiver
    is sought. No delay or failure at any time on the part of any party in exercising any right, power or
    privilege under this Offer Letter, or in enforcing any provision of the Term Sheet, shall impair any such
    right, power or privilege, or be construed as a waiver of such provision, or be construed as a waiver of
                                                         2290 Weal 8.Avenue,Hialeah, Florida 33010
                                   'Florida Authorized House Counsel and Licensed and a Member ofthe New York State Bar




                                                                                                                                                 Exhibit "F"
CONFIDENTIAL                                                                                                                                               CR1 01.0810
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    Mr. Felipe Boshell
    Augusta,2013                                                                                                  .„--T Deleted: 15
    Page 2

    any default or acquiescence therein, or shall affect the right of such party thereafter to enforce each and
    every provision ofthis Offer Letter in accordance with its terms.

           Should you have any questions,as always, please feel free to contact me.


    Sincerely,

    TELEMUNDO TELEVISION STUDIOS,LLC




    ACCEPTED AND AGREED:

    CARACOL TELEVISION S.A.




           cc:     Mr. Marcos Santana(Alarcos.Santanariptheuni.cong
                   Mr. Joshua Mintz(JosinicalinteiMbereni.cont)




                                                                                                                                      Exhibit "F"
CONFIDENTIAL                                                                                                                                    CR1 01.0811
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    Mr. Felipe Boshell
    Augusta,2013                                                                                       Deleted: 15
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                                                 Annex A

                                             TERM SHEET

     1. Parties:              a. Caracol Television S.A.("Caracol")
                              b. Telemundo Television Studios,LLC("TTS")
                              c. Telemundo Internacional,LLC("Tr)

    2. Date:                 As of AugustZ1,2013                                                       Deleted: 15


     3. Sequel:               a. TTS will develop, produce,own,and distribute a sequel to the
                                 "El Senor de los Cielos"(the "Series")for the exhibition and
                                 exploitation in the United States,its territories, as well as
                                 throughout the world (the "Sequel").

                              b. The Sequel will be based on the original format of the Series,
                                 which TTS shall have all right to use all elements(e.g.,
                                 characters,story, scenarios, locales,etc.)derived from the
                                 Series and any new elements added by TTS for purposes of
                                 creating the Sequel. For clarity, TTS will not be entitled to use
                                 images and content licensed by Caracol for the Series,except as
                                 agreed mutually by the Parties in a case-by-case scenario.

    4. Number ofEpisodes:,   The Sequel shall consist ofapproximately sixty(60)episodes of
       Length:               approximately forty-two(42)minutes in length.

     5. Production:          TTS shall have the exclusive right to produce and exploit the Sequel,
                             which Caracol shall have certain exhibition rights as granted herein.


    6. Development &         TTS shall have exclusive creative decisions,development of budgets
       Control ofthe Sequel: and casting, among other matters in the development and production
                             ofthe Sequel.

     7. Ownership:           From inception through all stages ofcompletion,the Sequel and all
                             elements thereof,including the underlying works, format and scripts
                             ofthe Series, will be exclusively owned by TTS throughout the
                             world.

                             TTS will own and control all exclusive, irrevocable and perpetual
                             right, title and interest(including copyright), throughout the universe
                             in and to the Sequel and all derivatives of the Sequel, and all
                             elements, underlying works or portions thereof including all raw
                             footage, from the inception of production, in any and all media and
                             formats, now known or hereafter devised, in perpetuity, including
                             without limitation all literary, dramatic, or other material contained




                                                                                                                     Exhibit "F"
CONFIDENTIAL                                                                                                                   CR1 01.0812
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    Mr. Felipe Boshell
    Augusta,2013                                                                                   Deleted: 15
    Page 4

                             therein, and the results and proceeds of the services in connection
                             therewith.

    8. Reserved Rights:      All and any rights not granted expressly herein to Caracol shall be
                             expressly reserved by TTS.

    9. License:              During the Term, TTS grants to Caracol a limited exclusive license
                             to exhibit the Series in Colombia,and the name, logos and related
                             trademarks in connection with the Sequel and promotion thereof.
    10. Caracol Exhibition   a) Territory: Colombia(the"Territory").
        License:
                             b) Term: Caracol shall have the right to run the Sequel as
                                specified herein for a period ofthree(3)years in the Territory
                                free ofany license fee payment due to TTS.
                             c) Runs: Three(3)runs. Caracol will pay any applicable re-run,
                                residual or other re-use or transmission payments(including
                                any applicable payments related to the employment of non-
                                union actors or the "buy-out"ofapplicable residuals as may be
                                required for the use ofthe Sequel in Colombia). If, after the
                                expiration ofthe exhibition term,Caracol is interested in
                                additional exhibitions ofthe Sequel in the Territory, Caracol
                                and Telemundo will negotiate in good faith the applicable
                                terms thereof.
                             d) Exclusive Media: Caracol shall have the exclusive exhibition
                                license to the Sequel over free-tv over-the-air broadcast in the
                                Territory.
                             e) Non-exclusive Media: Caracol shall have the non-exclusive
                                exhibition license to the Sequel over pay-tv in the Territory.
                             f) Excluded Media: All digital platforms,including SVOD,
                                download to own,electronic sell through,home entertainment
                                and any allied and ancillary rights related to the Sequel
                                ("Ancillary Rights'). Notwithstanding the foregoing,TTS shall
                                grant(i)a catch-up period ofone week to air the Sequel on
                                Caracol's digital intemet channel and (ii)a non-exclusive
                                license to Caracol for SVOD on its current SVOD platform,
                                provided such rights are available after production ofthe
                                Sequel.
                             g) Authorized Language: Spanish language only.

                             h) Sublicensing: Caracol may not sublicense the exhibition rights
                                granted by TTS to any third party.




                                                                                                                 Exhibit "F"
CONFIDENTIAL                                                                                                               CR1 01.0813
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    Mr. Felipe Boshell
    Augusta,2013                                                                                                Deleted: 15
    Page 5

     11. Caracol International TTS shall pay Caracol a foreign participation equal to 15% of 100%
         Profit Participation: of Foreign Net Sales (as defined below) after recoupment of the
                               Production Budget. T14shall provide Cameo! with a participation          ,....:.-4 Deleted: TS                              )
                               statement with respect ipyments due to Caracol,on a quarterly basis      z.:.: f Deleted: detailed acemitings                I
                               (no later than 30 days following each such quarter).                       ....-f Deleted: ofTi,Foreign Nei Sales
                                                                                                                                                            )

                              "Foreign Net Sales" shall mean all gross amounts actually received          ::.. :.
                              by and/or credited to TI in connection with the exploitation of the
                              Sequel throughout the Participation Territory, less only (i) the
                              Distribution Fee (as defined below),(ii) TTS's actual, out-of-pocket
                              third party costs and expenses in connection with the exploitation of
                              the Sequel throughout the Participation Territory, and (iii) any third
                              party participation attributable to the exploitation of the Sequel
                              throughout the Participation Territory.
                              "Distribution Fee" means a 25% distributor fee,less distribution
                              fees and expenses, marketing,advertising and promotional expenses,
                              and any applicable taxes.
                              "Excluded Tenitory" means the exploitation ofthe Sequel
                              throughout the United States, its possessions and territories,and the             Deleted:,Mexico,
                              Telemundo and Telemundo Internacional branded and/or affiliated
                              channels throughout the world,including Mun2. Notwithstanding
                              the foregoing. Mexico shall not be considered an Excluded
                              Territory.
                              "Participation Territory"means on a worldwide basis excluding
                              the Excluded Territory.
                              "Production Budget" means all costs and expenses associated with
                              the below-the-line and above-the-line production and delivery
                              elements associated,directly or indirectly, with the Sequel.

     12.   Governing Law:      This Term Sheet shall be in all respects governed by and construed
                               in accordance with the laws ofthe State ofFlorida.

     13.   Confidentiality:   Any information supplied by either party to the other shall be
                              deemed proprietary and shall be treated as strictly confidential by the
                              receiving party. Except as may be required by law or pursuant to
                              subpoena or order of any judicial, legislative, executive, regulatory
                              or administrative body,the receiving party shall not copy or disclose
                              such information to a third party, except as is necessary to
                              implement this Term Sheet or as may be approved in writing by the
                              other party, or as may be in the public domain through no fault of
                              the receiving party.




                                                                                                                                Exhibit "F"
CONFIDENTIAL                                                                                                                                       CR1 01.0814
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